
4 U.S. 321 (____)
4 Dall. 321
Dupont
versus
Pichon.
Supreme Court of United States.

*324 The COURT were decidedly of opinion, that Mr. Pichon would be entitled to privilege as charge d'affaires, till his return to France; but Chief Justice SHIPPEN seemed inclined to wait for information, from the department of state, as to his actual reception by the president in that character. On its being intimated, however, that the attorney of the district had become responsible to the sheriff for Mr. Pichon's appearance, only till the sense of the Court could be obtained; and that Mr. Pichon must now, probably, submit to imprisonment under the capias: the judges concurred in discharging him absolutely from the process.
